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14
                                     UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16   hiQ Labs, Inc.,                                Case No. 3:17-cv-03301-EMC

17                     Plaintiff and Counterclaim   PLAINTIFF AND COUNTERCLAIM
                       Defendant,                   DEFENDANT HIQ LABS, INC.’S
18                                                  MOTION FOR SUMMARY JUDGMENT
              vs.                                   ON LINKEDIN CORP.’S FIRST
19                                                  COUNTERCLAIM
     LinkedIn Corp.,
20                                                  The Hon. Edward M. Chen
                       Defendant and Counterclaim
21                     Plaintiff.                   Date:       September 15, 2022
                                                    Time:       1:30 P.M.
22                                                  Location:   Courtroom 5, 17th Floor
                                                                450 Golden Gate Ave.
23                                                              San Francisco, CA 94102

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 1 I.       INTRODUCTION

 2          LinkedIn’s claim under the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030,

 3 is time-barred by the statute’s two-year period of limitation. LinkedIn admits that it suspected that

 4 hiQ was scraping its data in October of 2014. But despite receiving notice through multiple channels

 5 around that time, LinkedIn declined to investigate or stop hiQ’s scraping until the spring of 2017,

 6 and then only after identifying hiQ as a competitive threat to its own analytics product and sending

 7 employees to attend a hiQ industry conference for the surreptitious gathering of “competitive intel”

 8 to exploit for its own benefit. The CFAA starts the two-year clock when a party has inquiry, rather

 9 than actual, notice. The record admits no other conclusion than that LinkedIn knew or should have

10 known before June 7, 2015—the date two years before hiQ filed this action—that hiQ was scraping

11 public data. Accordingly, hiQ respectfully requests that the Court grant summary judgment

12 dismissing LinkedIn’s untimely CFAA claim.

13 II.      BACKGROUND

14          A.     After Years of Engagement, LinkedIn Abruptly Targets hiQ With a Cease-
                   And-Desist Letter Accusing hiQ of Violating the CFAA in May 2017
15
            hiQ was founded in July 2012 to serve previously-unmet needs among employers
16
     (particularly large employers such as Fortune 500 companies) to assist in employee development
17
     and retention by (i) analyzing the full scope of current and potential employees’ skills and (ii)
18
     identifying those employees that were at the highest risk of leaving the respective employer. ECF
19
     131 at 2–3, 11–12; Ex. L (hiQ_00097102) (July 2012 OrgStars Certificate of Incorporation); Ex. M
20
     (hiQ_00603901) (Jan. 2016 Product Roadmap); Ex. N (Darren Kaplan May 4, 2022 Dep. Tr. 60:4
21
     – 65:8). hiQ did so by researching and analyzing wholly public information that individuals chose
22
     to share via their professional social networking profiles on LinkedIn, a professional social
23
     networking site that currently has over 810 million users. ECF 131 at 3. hiQ’s business was based
24
     on two products: Keeper, an attrition risk prediction platform, and SkillMapper, a talent analytics
25
     tool providing employers with insights into the depth and breadth of the skills possessed by their
26
     workforces. Id. at 13.
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 1         For years, LinkedIn knew about and sanctioned hiQ’s services and activities, including by

 2 sending groups of employees to hiQ’s semi-annual “Elevate” conferences, which gathered industry

 3 participants and customers to share insights and best practices. Ex. P (Mike Jennings Dep. Tr. 65:1-

 4 66:3). At the October 2016 “Elevate” Conference in Santa Clara, LinkedIn’s Lorenzo Canlas

 5 accepted an award from hiQ for his team’s work in the emerging people analytics field:

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           See Ex. A (hiQ_00102004); Ex. P.
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 1           LinkedIn was apparently content to largely ignore hiQ’s scraping activity until it developed

 2 its own talent analytics offering, LinkedIn Talent Insights, which was announced by CEO Jeff

 3 Weiner on June 21, 2017.         ECF 131 at 19; Ex. B (LinkedIn’s Response to hiQ’s Second

 4 Interrogatories) at 12–13. A month prior, in May 2017, LinkedIn abruptly denied hiQ’s access to

 5 the portion of the LinkedIn website containing wholly public user profiles. ECF No. 131 at 4. And

 6 on May 23, 2017, LinkedIn sent hiQ a cease-and-desist letter ordering hiQ to stop accessing

 7 LinkedIn and asserting that hiQ’s continued access to the website violated the CFAA. See Ex. O

 8 (LINK_HIQ_000002224).

 9           Deprived of access to the data that provided the foundation of its analytics, hiQ filed a

10 complaint against LinkedIn on June 7, 2017, seeking a declaration that hiQ had not violated and

11 would not violate federal or state law, including the CFAA, by accessing and copying wholly public

12 information from LinkedIn’s website. ECF No. 1 at 22–23.

13           B.     LinkedIn Admits That It Suspected hiQ of Scraping in October 2014

14           On June 6, 2022, LinkedIn filed an amended answer and counterclaim that asserted, inter

15 alia, a cause of action against hiQ for allegedly violating the CFAA. (ECF No. 320 at 47–49.)

16 Specifically, LinkedIn alleged that “hiQ knowingly and intentionally accessed LinkedIn’s

17 computers and servers without authorization or in excess of authorization” and “circumvented

18 [LinkedIn’s] technical barriers” by using concealment, such as fake accounts and proxy services,

19 among other technical end-arounds. Id. at 47–48. LinkedIn’s alleged injuries include harm to its

20 computer systems and expenses associated with being forced to investigate and respond to the

21 alleged unauthorized access and purported abuse of its computers. Id. at 49. LinkedIn also stated

22 that it actively monitors its platform to prevent scraping. Id. at 34.

23           However, LinkedIn admits that it was on notice of hiQ’s scraping activities as early as

24 October 8, 2014, acknowledging an email exchange between employees on its Talent Analytics

25 team explicitly describing hiQ’s suspected scraping activity. See Ex. B at 4.1 Daniel Maurath, an

26
     1
      It is irrelevant whether LinkedIn knew that hiQ was scraping with 100% certainty because the
27
   statute of limitations begins to run when a party’s duty to inquire is triggered by suspicion of harm,
28 not certainty. See Argument Section I, infra.


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 1 Analyst on LinkedIn’s Talent Analytics team, learned of hiQ through an invitation to hiQ’s

 2 “Corporate Council” conference, a predecessor to its “Elevate” conferences, and notified his team.

 3 Will Gaker, a Senior Manager of Business Operations, expressed interest, noting his suspicion that

 4 “they might be scraping our site”:

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            See Ex. C (LINK_HIQ_000038999) at -39000.
22
            In the same thread, Gaker also suggested “[i]t might be good for someone (or at least alert
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     someone who handles how our data gets used) to go [to the conference] to make sure this vendor
24
     isn’t accessing our data without our permission”:
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14 See id. at -38999.

15         In its discovery responses, LinkedIn confirms that these suspicions were “something that
16 required further investigation.” Ex. B at 4. And in the same thread, Joseph Baribeau, another

17 LinkedIn employee, echoed Gaker’s view that a team member should investigate whether hiQ was,

18 in fact, scraping LinkedIn data. Daniel Maurath agreed to “request to attend and at least find out

19 more info”:

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14 See Ex. D (LINK_HIQ_000039040).

15          But despite LinkedIn’s acknowledgement that this issue “required further investigation”,

16 apparently none took place. See Ex. B at 4 (LinkedIn’s admission that it “does not believe that

17 any participant on that email thread reported hiQ’s potential scraping to anyone with authority and

18 responsibility regarding anti-scraping enforcement.”).

19          C.     LinkedIn Admits That a Senior Executive Was Separately Informed That hiQ
                   Was Likely Scraping Data in December 2014, But Members of Its Anti-
20                 Scraping Council Did Not Act When Notified

21          In December 2014, Robin Vasan, a third-party venture capital investor, contacted LinkedIn’s

22 Vice President of Business Development, Bob Rosin, to notify him of a recent meeting he had had

23 with hiQ. In his email of December 15, 2014, Vasan informed Rosin that hiQ was “look[ing] at

24 public data (including LinkedIn),” and expressed his concern that LinkedIn would not “look

25 favorably at a company that is analyzing profiles.” See Ex. E (LINK_HIQ_000012281). Mr. Rosin

26 forwarded this message from his personal email address to his LinkedIn email account:
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16 Id. Mr. Rosin testified that he neither directed nor personally conducted any follow-up investigation

17 other than to transmit this information to Director of Business Development Lee Womer, a LinkedIn

18
     employee who “[w]orked with [a] cross-functional team to reboot [LinkedIn’s] anti-scraping
19
     initiative that dramatically improved defenses and enforcement.”2 Yet when he learned that hiQ
20
     was likely scraping LinkedIn data, Mr. Womer, in spite of his stated view that hiQ’s attrition risk
21

22 prediction service “was not a members-first use case,” asked for an introduction to hiQ but declined

23 to otherwise investigate its scraping activity:

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27   2
      See Ex. F (Bob Rosin Tr. at 127:19–23) (“Q. And you never investigated what it was that hiQ
   was doing when Mr. Vasan said that it was “analyzing profiles”? A. No. I forwarded it to Lee
28 because he was one who was responsible for this kind of stuff.”; Ex. G (LinkedIn Profile of Lee
   Womer) (describing role and responsibilities vis-à-vis scraping enforcement).)

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14 See Ex. H (LINK_HIQ_000012274) at -12277; Ex. I (Lee Womer Tr. at 56:15–25). But Mr. Rosin

15 did not “intro” Mr. Womer and no meeting occurred. Mr. Womer testified that he did not recall any

16 follow-up, explaining that “[w]e had to sort of prioritize, and there was nothing about this

17 engagement that sort of suggested to me that I should prioritize it . . . .” Id. at 57:19–21. In other

18 words, as of December 2014, LinkedIn realized that it had a choice as to whether to investigate hiQ;

19 it simply chose not to.

20          For years afterward, hiQ’s scraping activity appparently remained “not a priority”, despite

21 LinkedIn having formed an internal “Scraper Council” to combat scraping in 2013 and filing

22 lawsuits against other suspected scrapers as early as 2014. See Ex. B at 6; ECF No. 144-2. After

23 attending the hiQ Elevate Conference in October of 2015, Mr. Canlas (the 2016 award recipient)

24 notified members of LinkedIn’s Scraper Council of hiQ’s scraping activity:

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10 Ex. J (LINK_HIQ_000067471). According to LinkedIn, this email was then forwarded to the

11 Scraper Council at large; but yet again, no investigation was undertaken, and no other follow-up

12 took place. Ex. B at 6–7. Mr. Canlas’s later efforts to draw attention to hiQ’s scraping activity

13 continued to fall on deaf ears. See, e.g., Ex. K (LINK_HIQ_000067901) (June 29, 2016 email from

14 Canlas to senior LinkedIn managers noting his suspicion that hiQ continued to scrape profile data).

15 III.     LEGAL STANDARD

16          Summary judgment is appropriate when “there is no genuine dispute as to any material fact

17 and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A material fact is

18 any factual issue that might affect the outcome of the case under the governing substantive law. See

19 Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986). A dispute about a fact is “genuine” if the

20 evidence is such that a reasonable jury could return a verdict for the non-moving party. Id. “A party

21 asserting that a fact cannot be or is genuinely disputed must support the assertion by . . . citing to

22 particular parts of materials in the record” or by “showing that materials cited do not establish the

23 absence or presence of a genuine dispute, or that an adverse party cannot produce admissible

24 evidence to support the fact.” Fed. R. Civ. P. 56(c)(1)(A), (B). The court need only consider the

25 cited materials, but it may also consider any other materials in the record. Id. at 56(c)(3). Summary

26 judgment may also be entered “against a party who fails to make a showing sufficient to establish
27 the existence of an element essential to that party’s case, and on which that party will bear the burden

28 of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).


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 1          “While resolution of the statute of limitations issue is normally a question of fact, where the

 2 uncontradicted facts established through discovery are susceptible of only one legitimate inference,

 3 summary judgment is proper.” High Country Linens, Inc. v. Block, No. C 01-02180 CRB, 2002 WL

 4 1998272, at *2 (N.D. Cal. Aug. 20, 2002)(internal quotations and citations omitted). “The district

 5 court may grant summary judgment if uncontroverted evidence ‘irrefutably demonstrates that a

 6 plaintiff discovered or should have discovered [the cause of action] but failed to file a timely

 7 complaint.’” Conmar Corp. v. Mitsui Co. (U.S.A.), Inc., 858 F.2d 499, 502 (9th Cir. 1988) (quoting

 8 Volk v. D.A. Davidson Co., 816 F.2d 1406, 1417 (9th Cir. 1987)).

 9 IV.      ARGUMENT

10          LinkedIn’s CFAA claim is time-barred by the two-year statute of limitations. A claim under

11 the CFAA must be filed within two years from “the date of the act complained of or the date of the

12 discovery of the damage.” 18 U.S.C. § 1030(g). The CFAA does not require that the claimant have

13 actual knowledge of the violation; rather, it “demands only that the claimant have had a reasonable

14 notice to discover the violation.” Maddalena v. Toole, No. 2:13-CV-4873-ODW, 2013 WL

15 5491869, at *4 (C.D. Cal. Oct. 1, 2013) (emphasis added). When, as with the CFAA, “legislators

16 have written the word ‘discovery’ directly into the statute . . . state and federal courts have typically

17 interpret the word to refer not only to actual discovery, but also to the hypothetical discovery of

18 facts a reasonably diligent plaintiff would know.” West v. Ronquillo-Morgan, No. CV 20-2711 DSF

19 (EX), 2021 WL 2953160, at *3 (C.D. Cal. May 10, 2021) (quoting Merck & Co. v. Reynolds, 559

20 U.S. 633, 645 (2010)). Federal law determines when the limitations period begins to run, and the

21 general federal rule is that “a limitations period begins to run when the plaintiff knows or has reason

22 to know of the injury which is the basis of the action.” See Al-Ahmed v. Twitter, Inc., No. 21-CV-

23 08017-EMC, 2022 WL 1605673, at *11 (N.D. Cal. May 20, 2022) (citation omitted).

24          It is undisputed that as early as October 8, 2014, LinkedIn suspected that hiQ was scraping

25 its data “without permission.” See Exs. B, C, D. It is also undisputed that LinkedIn did no due

26 diligence to confirm or dispel its suspicion until years later. See id. At most, LinkedIn’s excuses
27 for why it failed to investigate hiQ at that time boil down to internal reporting failures: the employees

28 who suspected that hiQ was scraping public profile data simply declined to “report[] hiQ’s potential


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 1 scraping to anyone with authority and responsibility regarding anti-scraping enforcement.” Ex. B

 2 at 4. But LinkedIn conspicuously fails to explain “why due diligence could not have revealed the

 3 violation earlier.” Reynolds v. Applegate, No. C 10-04427 CRB, 2011 WL 560757, at *2 (N.D. Cal.

 4 Feb. 14, 2011) (rejecting argument for tolling the statute of limitations where “[p]laintiff had a

 5 reasonable opportunity to discover” a violation.); Yetter v. Ford Motor Co., 428 F. Supp. 3d 210,

 6 225 (N.D. Cal. 2019) (statute of limitations not tolled “because Plaintiff has not plausibly alleged

 7 reasonable diligence”). hiQ is not responsible for LinkedIn’s administrative failure. Indeed, the

 8 fact that LinkedIn had already established a “Scraper Council . . . on or about September 2013,”

 9 consisting of a “cross-functional group of individuals from multiple LinkedIn teams” (Ex. B at 6),

10 makes this failure all the more stark.

11          For a claim to be time-barred, the aggrieved party need not know details such as the identity

12 of the defendant, nor the exact legal claim. See Al-Ahmed, 2022 WL 1605673, at *11 (barring

13 CFAA claim because “for statute of limitations purposes, a CFAA claim starts to run when the

14 plaintiff is aware of the alleged damage, not when the plaintiff learns exactly what has happened”)

15 (citation and alteration omitted). In Al-Ahmed, the court found that since the plaintiff became aware

16 of a data breach on his Twitter account, he had sufficient notice and could have sought out the

17 unknown hackers within the statute of limitations period after filing a Doe complaint. Id. at *12;

18 Kyko Glob. Inc. v. Bhongir, No. 20-17526, 2021 WL 4958989, at *1 (9th Cir. Oct. 26, 2021)

19 (holding it was enough to have had “knowledge of the injury that gave rise to the claim” such as

20 when plaintiff discovered fraudulent accounts that gave rise to plaintiff’s fraud claims).

21          The record demonstrates beyond dispute—and LinkedIn’s written discovery responses

22 concede—that multiple LinkedIn employees received notice from multiple sources that hiQ was

23 likely scraping data more than two years before this action commenced. Yet none of those

24 employees undertook any investigation or initiated the filing of a claim until they saw a competitive

25 advantage in doing so—and that was only after the statutory period had already expired. As a result,

26 LinkedIn’s CFAA claim is time-barred.
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 1 V.     CONCLUSION

 2        The Court should grant Summary Judgment and dismiss LinkedIn’s claim against hiQ

 3 under the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030.

 4

 5        Dated: August 5, 2022

 6                                           By

 7                                           /s/ Corey Worcester

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